Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 1 of 24 PagelD #: 997
GiftLaw Pro - PLR Page 1 of 4

Nionday, September 20, 2010 RAT Mod Plea ths.

GiftLaw Note: In the decedent's estate, a 5% charitable remainder annuity trust (CRAT) was
created for the life of beneficiary A. After the demise of beneficiary A the trustees will
distribute the principal from the annuity trust to qualified exempt charities.

Beneficiary A and the trustees now request permission to make distributions of principal and
income from the trust directly to qualified exempt charities. Apparently, the 5% annuity trust
has grown and the principal is significantly in excess of the amount required to ensure
payment of the annuity. The trustees agree that the principal shall not be reduced below a
level necessary to ensure payment of the 5% annuity to A for the duration of A's lifetime.

Reg. 1.664-2(a)(1) allows payment to a Sec. 170(c) organization, so long as the adjusted
basis of property distributed is fairly representative of the adjusted basis of all property
available. Therefore, the discretion to make distributions to charity is a permissible addition
to the annuity trust.

Editor's Note: This plan is similar to the provision based on PLR 9550026 that may be added
to unitrust documents. With a unitrust, a percentage of the principal may be gifted annually
to qualified charities. However, this does reduce proportionately the income of the unitrust,
as Compared with the annuity trust, which pays a fixed annuity. In both cases, the charitable
trust becomes in effect a combination of an income stream to a beneficiary and a personal
foundation for making current grants to qualified charities.

internal Revenue Service
Release Date: 12/29/2000

This letter responds to a Jetter dated March 20, 2000, and subsequent correspondence, submitted
by you as Trust's authorized representative on behalf of Trust, requesting a ruling under § 664 of
the Internal Revenue Code concerning the proposed modification of Trust.

The information submitted states that X established Trust on D1. X died on D2, and was survived
by A. Pursuant to the terms of Trust, a trust represented as being a charitable remainder annuity
trust under § 664 (the CRAT) was established for the benefit of A.

Article 4.01(A) of Trust provides for the trustees of the CRAT to distribute annually to A, for the
duration of A's fife, an annuity amount equal to 5 percent of the initial fair market value of the
assets placed in the CRAT. Upon A's death, the trustees shall distribute the remaining principal
and undistributed income of the CRAT to any one or more charities selected by the trustees that
are organizations described in §§ 170(c) and 2055{a) (Qualified Charities).

EXHIBIT Q

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Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 2 of 24 PagelD #: 998
GiftLaw Pro - PLR Page 2 of 4

The trustees of the CRAT propose to modify Trust to authorize the trustees to make distributions
of principal and income from time to time during A's lifetime to any one or more Qualified
Charities selected by the trustees, but only to the extent that the fair market value of the assets of
the CRAT exceeds $x at the time of such distribution. The trustees shall make no distribution of
principal or income from the CRAT to the extent that such distribution would endanger the ability
of the CRAT to pay the required fixed 5 percent annuity to A for the duration of A's lifetime.

The trustees have obtained the consent of A to the proposed modification. The trustees have also
obtained the consent of the attorney general of State, the laws of which govern the rights and
duties of the parties and beneficiaries of Trust, pursuant to the terms of Trust. The trustees have
petitioned Court for an order directing the modification of Trust as described above.

Section 664(d)(1) of the Code sets forth the requirements for a trust to be a charitable remainder
annuity trust. Section 664(d)(1)(A) provides that a sum certain (which is not less than 5 percent
nor more than 50 percent of the initial net fair market value of all property placed in trust) is to be
paid, not less often than annually, to one or more persons (at least one of which is not an
organization described in § 170(c) and, in the case of individuals, only to an individual who is
living at the time of the creation of the trust) for a term of years (not in excess of 20 years) or for
the life or fives of such individual or individuals. Section 664(d)(1}(B) provides that no amount
other than the payments described in § 664(d)(1)(A) and other than qualified gratuitous transfers
described in § 664(d)(1}(C) may be paid to or for the use of any person other than an organization
described in § 170(c).

Section 1.664-2(a}(1)(i) of the Income Tax Regulations provides that, in general, the governing
instrument of a CRAT must provide that the trust will pay a sum certain not less often than
annually to a person or persons described in § 1.664-2(a)(3) for each taxable year of the period
specified in § 1.664-2{a)(5).

Section 1.664-2(a)(3)(i) provides, in part, that the amount described in § 1.664~2(a)(1) must be
payable to or for the use of a named person or persons, at least one of which is not an
organization described in § 170(c).

Section 1.664~2(a)(4) provides, in part, that no amount other than the amount described in §
1.664-2(a(T) may be paid to or for the use of any person other than an organization described in
§ 170(c). The trust may not be subject to a power to invade, alter, amend, or revoke for the
beneficial use of a person other than an organization described in § 170(c). The governing
instrument may provide that any amount other than the amount described in § 1.664-2({a)(1) shail
be paid (or may be paid in the discretion of the trustee) to an organization described in § 170(c)
provided that, in the case of distributions in kind, the adjusted basis of the property distributed is
fairly representative of the adjusted basis of the property available for payment on the date of
payment. It further states that the governing instrument may provide that a portion of the trust
assets may be distributed currently, or upon the death of one or more recipients, to an
organization described in § 170@(c).

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Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 3 of .
GiftLaw Pro - PLR of 24 PagelD #: 999) 63 of 4

Section 1.664-1(e)(1) provides that an amount distributed by a charitable remainder trust to an
organization described in § 170(c) other than the annuity or unitrust amount shall be considered
as a distribution of corpus and of those categories of income specified in § 1.664-1(d)(1) in an
order inverse to that described in § 1.664-1(d)(1). The character of such amounts shal! be
determined as of the end of the taxable year of the trust in which the distribution is made after
the character of the annuity or unitrust amount has been determined.

Based solely on the facts and representations submitted, we rule that the proposed modification
of Trust discussed above will not disqualify the CRAT as a CRAT under § 664.

Except as specifically set forth above, no opinion is expressed or implied concerning the federai
tax consequences of the facts described above under any other provision of the Code, including
whether the CRAT was or is a CRAT under § 664 of the Code.

This ruling is directed only to the taxpayer who requested it. Section 61 10(k)(3) provides that it
may not be used or cited as precedent.

Pursuant to a power of attorney on file with this office, copies of this letter are being sent to
Trust's authorized representatives.

Sincerely yours,

J. THOMAS HINES

Acting Branch Chief, Branch 2

Office of the Associate, Chief Counsel
(Passthroughs and Special Industries)

Related Topics On Testamentary CRAT and Personal Foundation

2.1.6 Gifts from an Annuity Trust: After the annuity trust has been funded, it is
permissible to use the trust corpus to make a current gift. However, the arrangement should
be created to avoid the application of the partial interest rules. Sec. 1 7GfH(3){A). For
example, it would not be appropriate to create a charitable remainder trust on Monday and
then give the income interest to charity on Wednesday of the same week. If the gift of an
income interest is contemplated, it should generally be made a year or more after creation of
the trust.

6.9.2 Annuity Trust for a Term of Years: A charitable remainder annuity trust
(CRAT) may be created for a term of years not exceeding 20. Reg. 1.664-2(a)(SHi). The term
of years must be ascertainable at the trust creation and will pay out for the entire term of
years selected.

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Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 4 of 24 PagelD #: 1000
GiftLaw Pro - PLR Page 4 of 4

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Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 5 of 24 PagelD #: 1001

Internal Revenue Service

Number: 200420011

Release Date: 5/14/04

Index Number: 671.00-00, 1001.00-00,
2501.00-00, 2511 00-00,
2601.00-00

Trust re toruration ufers 7

Legend

Decedent =
Trust =

Daughter 1 =
Daughter 2 =
Daughter 3 =
Daughter 4 =
Son =
Grandchild 4 =
Grandchild 2 =
Grandchild 3 =
Grandchild 4 =
Grandchild 5 =
Grandchild 6 =
Grandchild 7 =
Grandchild 8 =
Grandchild 9 =
Grandchild 10 =
Grandchild 11 =
Grandchild 12 =
Grandchild 13 =
Grandchild 14 =
Grandchild 15 =
Great-Grandchild 1 =
Great-Grandchild 2 =

Department of the Treasury
Washington, DC 20224

Person To Contact:

, ID No.

Telephone Number:

Refer Reply To:

CC:PSI:B04 ~ PLR-121099-03
Date:

January 29, 2004

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 6 of 24 PagelD #: 1002

Great-Grandchild 3 =
Great-Grandchild 4 =
Great-Grandchild 5 =
Great-Grandchild 6 =
Great-Grandchild 7 =
Great-Grandchild 8 =
Great-Grandchild 9 =
Great-Grandchild 10 =
Great-Grandchild 11 =
Great-Grandchild 12 =
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Great-Grandchild 15 =
Great-Grandchild 16 =
Great-Grandchild 17 =
Great-Grandchild 18 =
Date 1 =

Date 2 =

Date 3 =

Date 4 =

Date 5 =

Date 6 =

Date 7 =

Date 8 =

Year 1 =

Company 1 =
Company 2 =
Company 3 =

State =

Statute =

Court =

Amount 1 =

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Dear

This responds to your letter dated January 16, 2004, and prior correspondence,
requesting rulings regarding the federal income, gift, and generation-skipping transfer
(GST) tax consequences of a proposed judicial modification of a trust.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 7 of 24 PagelD #: 1003

Facts

The facts submitted and representations made are as follows. Decedent created
a revocable trust, Trust, on Date 1 for the benefit of his children and grandchildren,
Trust was amended on Date 2, and amended and restated on Date 3. Decedent died
on Date 4, and pursuant to Article V of the trust instrument, Trust became irrevocable
on that date.

At the time of this ruling request, Decedent has a children, b grandchildren
(Grandchild 1 through Grandchild b), and c great-grandchildren (Great-Grandchild 1
through Great-Grandchild c). Under Section 2 of Article HI of Trust, at Decedent's death,
$1,000,000 was set aside in a “grandchildren’s trust share” and subdivided into equal
shares for each of grantor’s grandchildren (with the exception of Grandchild 12 who was
specifically excluded). The net income from each grandchild’s share is required to be
distributed at least annually to the grandchild for whom it was set aside. There is no
provision made for distribution of principal of a grandchild’s share. In addition, in the
event a grandchild dies before the termination of Trust, the income of the deceased
grandchild’s share would accumulate because no provision is made for such a
contingency. Upon Trust's termination, a grandchild’s share will be distributed to the
grandchild for whom it was set aside, or if he or she is not then living, to the lineal
descendants of such deceased grandchild, or if none, such share will lapse and equally
increase the remaining shares in the grandchildren’s trust share.

The remainder of Trust's assets were divided into five equal shares for each of
the grantor’s children, Daughter 1, Daughter 2, Daughter 3, Daughter 4, and Son. The
net income from a child's share is required to be distributed at ieast annually to the child
for whom it was set aside.

There is no provision in the trust instrument for distribution of the principal of a
child's share in Trust. If a child dies before the termination of Trust, the net income of
his or her share would be distributed to those persons appointed by such child in his or
her Last Will and Testament. In the event a child dies before the termination of Trust
and fails to appoint a person to receive the income from his or her share, the income of
the deceased child’s share would accumulate because no provision is made for that
contingency. Upon termination, the remaining principal and undistributed income of a
child's share will be distributed to those persons appointed by such child in his or her
Last Will and Testament, or in default thereof, to the then living lineal descendants of
such deceased child, per stirpes, or if none, to the then living lineal descendants of
Decedent, per stirpes.

Pursuant to Section 4 of Article HI, Trust will terminate on the latter of the death
of all of the Decedent's children or the expiration of twenty years from the date of
Decedent's death.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 8 of 24 PagelD #: 1004

On Schedule R of Decedent's Form 706, United States Estate (and Generation-
Skipping Transfer) Tax Return, the executor allocated Decedent’s $1 million GST
exemption to Trust which had assets of $1 million set aside under Trust's instrument.
You represent that there have been no additions to Trust since Decedent's death.

Son is the Trustee of Trust. As of Date 7, Trust primarily consisted of Amount 1
shares of Class B voting common stock of Company 1, along with certain other assets.

Starting in Year 1, Decedent’s four daughters brought suit against the Trustee for
breach of fiduciary duty as the sole trustee of Trust. Since that time, the parties have
engaged in extensive litigation, lengthy mediation, and proposed settlement
agreements. The parties entered into a settlement agreement on Date 5. Concurrent
with this litigation, additional disputes arose and separate litigation occurred with
respect to Daughter 1, Son (individually and as Trustee of Trust), Company 1, Company
2, and Company 3. A separate settlement agreement was reached to resolve those |
matters on Date 8. These settlement agreements, along with a petition for reformation
of Trust in order to comply with the terms of those agreements, was submitted to Court
for approval.

State Statute provides that if the purposes of a trust have been fulfilled or have
become illegal or impossible to fulfill or, if because of circumstances not known to or
anticipated by the settlor, compliance with the terms of the trust would defeat or
substantially impair the accomplishment of a material purpose of the trust or, ifa
material purpose of the trust no longer exists, upon the application of a trustee of the
trust or any beneficiary a court at any time may modify the terms of a trust which is not
then revocable to: (a) amend or change the terms of the trust, including terms governing
distribution of the trust income or principal, or terms governing administration of the
trust; (b) terminate the trust in whole or in part; (c) direct or permit the trustee to do acts
that are not authorized or that are prohibited by the terms of the trust; or (d) prohibit the
trustee from performing acts that are permitted or required by the terms of the trust.
The taxpayer representatives assert in its Petition for Reformation of Trust and
Appointment of Trustees that Court has the authority to modify the terms of Trust
pursuant to Statute.

On Date 6, Court approved the following modifications to Trust, subject to a
Court order being entered:

1. Trust will be modified to provide that the separate and independent share in
Trust of each child and grandchild shall be held as a separate trust and that,
except with respect to a grandchild under twenty-five years of age, each child
and grandchild shail serve as trustee of his or her respective trust. la
grandchild is under twenty-five, such grandchild’s parent who is a lineal
descendant of Decedent shall serve as trustee until such grandchild attains

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 9 of 24 PagelD #: 1005

5

the age of twenty-five. Each child and grandchild shall have the right to
appoint an individual or bank or trust company to serve as a co-trustee of his
or her separate trust, and each child and grandchild shail have the right to
name a successor trustee of his or her trust.

2. Trust will be modified to provide that in the event a grandchild dies before
termination of Trust, the income from that deceased grandchild's separate
trust shall be distributed, until termination of Trust, to his or her lineal
descendants, per stirpes, or in default thereof, to his or her then living siblings
and the living lineal descendants of his or her deceased siblings, per stirpes,
or in default thereof, the separate trust shall terminate and its assets shall be
added to the other grandchildren’s separate trusts.

3. Trust will be modified to provide that in the event a grandchild dies before
termination of Trust and ieaves no living lineal descendants, his or her
separate trust shail be distributed, upon the termination of Trust, to such
deceased grandchild’s then living siblings and the then living lineal
descendants of his or her deceased siblings, per stirpes.

4. Trust will provide that, if a child is not living at the time of distribution of
income from such child’s separate share and the child has not exercised his
or her general power of appointment, then the income shall be distributed to
his or her then living lineal descendants, per stirpes, or in default there, to the
then living lineal descendants of the Decedent, per stirpes.

RULINGS REQUESTED

1. That Son, in his capacity as Trustee of Trust, a child or a grandchild will not
be treated, for federal income tax purposes, as the grantor of such child’s or
grandchild’s separate trust created as a result of the judicial reformation of
Trust because the Trustee and such child or grandchild consented to that
action which will convert such child’s or grandchild’s separate and
independent share in Trust into a separate trust.

2. The judicial reformation of Trust will not cause Trust, the separate shares of
the children and grandchildren in Trust, or the children and grandchildren to
realize gain or loss for federal income tax purposes.

3. That neither Son, in his capacity as Trustee, nor a child will be treated as
having made a gift for federal gift tax purposes due to the judicial reformation
of Trust, or the Son's consent, in his Capacity as Trustee, or a child’s consent
thereto.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 10 of 24 PagelD #: 1006

6

4, That a grandchild will not be treated as having made a gift for federal gift tax
purposes to his or her lineal descendants, his or her siblings or the lineal
descendants of his or her deceased siblings because they could receive the
income from such grandchild’s separate trust in the event that such
grandchild dies before the termination of Trust.

5. That a grandchild will not be treated as having made a gift for federal gift tax
purposes fo his or her siblings or the lineal descendants of his or her
deceased siblings because they could receive the remaining principal and
undistributed income of such grandchild’s separate trust upon the termination
of Trust in the event such grandchild dies before the termination of Trust and
leaves no living lineal descendants.

6. That the judicial reformation of Trust (and subsequent termination of Trust)
will not result in a gift for federal gift tax purposes occurring among the
grandchildren because a grandchild’s contingent remainder interest, which
would vest if another grandchild dies before the termination of Trust leaving
no living lineal descendants, becomes less likely to vest.

7. That the judicial reformation of Trust (and subsequent termination of Trust)
will not result in a gift for federal gift tax purposes occurring between the
great-grandchildren and the grandchildren and children because a great-
grandchild’s contingent remainder interest, which would vest if a grandchild
dies before the termination of Trust becomes less likely to vest.

8. That a grandchild's separate trust will have an inclusion ratio of zero under
§ 2642 of the Internal Revenue Code, provided that the grandchildren’s
separate trust share has an inclusion ratio of zero immediately before each
share set aside for a grandchild converts to a separate trust for such
grandchild.

Ruling Request No. 1 — Grantor Trust

Section 671 provides that where it is specified in subpart E of Part | of
subchapter J that the grantor or another person shall be treated as the owner of any
portion of a trust, there shall then be included in computing the taxable income and
credits of the grantor or the other person those items of income, deductions, and credits
against tax of the trust which are attributable to that portion of the trust to the extent that
such items would be taken into account under chapter 1 in computing taxable income or
credits against the tax of an individual.

Sections 673 through 678 specify the circumstances under which the grantor or a
person other than the grantor is treated as the owner of a portion of a trust.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 11 of 24 PagelD #: 1007

Section 678(a) provides, in general, that a person other than the grantor shall be
treated as the owner of any portion of a trust with respect to which (1) such person has
a power exercisable solely by himself to vest the corpus or the income therefrom in
himself, or (2) such person has previously partially released or otherwise modified such
a power and after the release or modification retains such control as would, within the
principles of §§ 671 to 677, inclusive, subject a grantor of a trust to treatment as the
owner thereof.

Section 1.671-2(e)(1) of the Income Tax Regulations provides that for purposes
of subchapter J, a grantor includes any person to the extent such person either creates
a trust, or directly or indirectly makes a gratuitous transfer of property to a trust.

Section 1.671-2(e)(2)(i) provides that a gratuitous transfer is any transfer other
than a transfer of property for fair market value. A transfer of property to a trust may be
considered a gratuitous transfer without regard to whether the transfer is treated as a
gift for gift tax purposes.

Based solely on the facts and representations submitted, we conclude that the
proposed judicial reformation of Trust will not cause any of the separate trusts to be
treated as grantor trusts or cause Son (in his capacity as Trustee) or any of the children
or grandchildren of the Decedent to be treated as the grantors or owners of any of the
separate trusts.

Ruling Request No. 2 — Gain or Loss

Section 61 provides that gross income means all income from whatever source
derived. Section 61(a)(3) provides that gross income includes gains derived from
dealings in property.

Section 1001(a) provides that the gain from the sale or other disposition of
property shall be the excess of the amount realized therefrom over the adjusted basis
provided in §1011 for determining gain, and the loss shall be the excess of the adjusted
basis provided in such section for determining loss over the amount realized. Section
4001(b) provides that the amount realized from the sale or other disposition of property
shall be the sum of any money received plus the fair market value of the property.
Section 1001(c) provides that, except as otherwise provided in subtitle A, the entire
amount of the gain or loss, determined under §1001, on the sale or exchange of
property shall be recognized.

Section 1.1001-1(a) provides that the gain or loss realized from the conversion of
property into cash, or from the exchange of property for other property differing
materially either in kind or in extent, is treated as income or as joss sustained.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 12 of 24 PagelD #: 1008

8

Rev. Rul. 69-486, 1969-2 C.B. 159, involved two beneficiaries of a trust who by
mutual agreement, requested that the trustee distribute all of the trust corpus consisting
of notes to one of the beneficiaries and all of the trust corpus consisting of common
stock to the other beneficiary. The trust instrument as well as local law was silent
regarding whether the trustee had the authority to make such a non-pro rata distribution
of property in kind. Because the trustee was not specifically authorized to make an
allocation of specific property in kind, the beneficiaries were treated as having an
absolute right to a ratable in-kind distribution. Rev. Rul. 69-486 treated the beneficiaries
as receiving the notes and common stock pre rata, followed by an exchange between
the beneficiaries giving all of the common stock to one and ail of the notes to the other.
Since, in substance, an exchange between the beneficiaries was deemed to occur, Rev.
Rul. 69-486 held that the beneficiaries recognized gain under §§1001 and 1002.

The present case is distinguishable from Rev. Rul. 69-486 because the assets of
Trust currently allocated to the separate shares will convert into subtrusts. In addition,
the proposed reformation of the trust will only occur if the reformation is expressly
permissible under applicable state law and approved by a state court.

In Cottage Savings Ass’n. v. Commissioner, 499 U.S. 554 (1991), the Supreme
Court addressed whether a sale or exchange has taken place that results in a
realization of gain or loss under §1001. The Court stated that an exchange of property
gives rise to a realization event under §1001{a) if the properties exchanged are
materially different. Consequently, the Court held that an exchange of mortgages
constituted a realization event under §1001(a) because the exchanged interests - loans
that were made to different obligors and secured by different homes - were legally
distinct entitlements.

In the present case, the issue is whether the children and grandchildren would
have the same property interests and legal entitlements as they had before the judicial
reformation of Trust. Dividing each separate share in Trust into a subtrust and
distributing the assets of the separate shares to subtrusts will not materially affect the
children's and grandchildren’s interests because although each beneficiary will be
entitled to receive income from only one subtrust, the amount of the distributions will be
the same as the amount that he or she would have been entitled to receive under Trust.

Additionally, allowing each child and grandchild to serve as trustee of their
subtrust is merely a change in the way that the new trusts are administered. The
reformation of Trust will not otherwise change the legal entitlements and property
interests of any beneficiary because the amounts that will be paid to the beneficiaries
will continue to be controlled by the terms of Trust, and the children and grandchildren
will be required to continue to exercise the same standard of fiduciary responsibility as
the trustee previously exercised with respect to Trust. Consequently, the modification
relating to trustees is not a material difference for purposes of §1001 or Coitage

Savings.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 13 of 24 PagelD #: 1009

Thus, the judicial reformation of Trust will not be considered a sale, exchange, or
other disposition of property of Trust and the children and grandchildren will not realize
income under § 61 or gain or loss under §1001.

Ruling Requests No. 3, 4, 5,6 and 7 — Gift Tax

Section 2501 imposes a tax on the fransfer of property by gift by an individual.
Section 2511 provides that the tax imposed by § 2501 applies whether the transfer is in
trust or otherwise, whether the gift is direct or indirect and whether the property is real or
personal, tangible or intangible.

Whether an agreement settling a dispute is effective for gift tax purposes
depends on whether the settlement is based on a valid enforceable claim asserted by
the parties and, to the extent feasible, produces an economically fair result. See
Ahmanson Foundation v. United States, 674 F.2d 761, 774-775 (9 Cir. 1981). Thus,
state law must be examined to ascertain the legitimacy of each party's claim. A
settlement that fairly reflects the relative merits and economic values of the various
claims asserted by the parties and reaches a settlement that is within a range of
reasonable settlements will not result in a transfer for gift tax purposes.

We have examined the settlement agreements, in the context of Trust and State
law. In applying these standards, we conclude that the terms of the agreements, as
approved by the Court order, are within a range of reasonabie settlements. Further, the
beneficial interests of the beneficiaries are the same, both before and after the
proposed transaction, and, accordingly, no transfer of property will be deemed to occur
for federal gift tax purposes as a result of the modifications to Trust.

Therefore, based on the facts and representations, we conclude as follows:

4. That neither Son, in his capacity as Trustee, nor a child will be treated as
having made a gift for federal gift tax purposes due fo the judicial reformation
of Trust, or the Son’s consent, in his capacity as Trustee, or a child’s consent
thereto.

2. That a grandchild will not be treated as having made a gift for federal gift tax
purposes to his or her lineal descendants, his or her siblings or the lineal
descendants of his or her deceased siblings because they could receive the
income from such grandchild’s separate trust in the event that such
grandchild dies before the termination of Trust.

3. That a grandchild will not be treated as having made a gift for federal gift tax
purposes to his or her siblings or the lineal descendants of his or her
deceased siblings because they could receive the remaining principal and
undistributed income of such grandchild’s separate trust upon the termination

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 14 of 24 PagelD #: 1010

10

of Trust in the event such grandchild dies before the termination of Trust and
leaves no living lineal descendants.

4. That the judicial reformation of Trust (and subsequent termination of Trust)
will not result in a gift for federal gift tax purposes occurring among the
grandchildren because a grandchild’s contingent remainder interest, which
would vest if another grandchild dies before the termination of Trust leaving
no living lineal descendants, becomes less likely fo vest.

5. That the judicial reformation of Trust (and subsequent termination of Trust)
will not result in a gift for federal gift tax purposes occurring between the
great-grandchildren and the grandchildren and children because a great-
grandchild’s contingent remainder interest, which would vest if a grandchild
dies before the termination of Trust becomes jess likely to vest.

Ruling Request No. 8 — GST tax

Section 2601 imposes a tax on every generation-skipping transfer. Under
§ 1433(a) of the Tax Reform Act of 1986 (Act), the GST tax is generally applicable to
generation-skipping transfers made after October 22, 1986. However, under
§ 1433(b)(2)(A) of the Act and § 26.2601-1(b)(1)(i) of the Generation-Skipping Transfer
Tax Regulations, the tax does not apply to any generation-skipping transfer from a trust,
if the trust was irrevocable on September 25, 1985, and no addition (actual or
constructive) was made to the trust after that date. Under § 26.2601-1(b)(1)(ii), any
trust in existence on September 25, 1985, will be considered irrevocable unless the
settlor had a power that would have caused inclusion of the trust in his or her gross
estate under § 2038 or 2042, if the settlor had died on September 25, 1985.

Under § 2602, the amount of tax imposed under § 2601 is determined by
multiplying the taxable amount by the applicable rate. The taxable amount of a taxable
distribution is the amount received by the transferee (§ 2621), of a taxable termination is
the amount of property with respect to which there was a taxable termination (§ 2622),
and of a direct skip is the amount received by the transferee (§ 2623).

Under § 2641, the term “applicable rate” means the product of the maximum
federal estate tax rate in the year that the generation-skipping transfer occurs and the
inclusion ratio.

Under § 2642(a)(1), the inclusion ratio with respect to any property transferred in
a generation-skipping transfer is 1 minus the applicable fraction. Under § 2642(a)(2), in
general, the numerator of the applicable fraction is the GST exemption amount
allocated to the property transferred and the denominator is the value of the property
transferred,

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 15 of 24 PagelD #: 1011

11

Under § 2631, every individual is allowed a GST exemption amount which may
be allocated by the individual or the individual’s executor to any property with respect to
which the individual is the transferor.

Section 2654(b)(2) provides that, for purposes of chapter 13, substantially
separate and independent shares of different beneficiaries in a trust are treated as
separate trusts. Section 26.2654-1(a) (1) provides that, if a single trust consists solely
of substantially separate and independent shares for different beneficiaries, the share
attributable to each beneficiary (or group of beneficiaries) is treated as a separate trust
for purposes of chapter 13. The phrase “substantially separate and independent
shares” generally has the same meaning as provided in § 1.663(c)-3. However, a
portion of a trust is not a separate share unless such share exists from and at all times
after the creation of the trust. For purposes of this paragraph (a)}(1), a trust is treated as
created at the date of death of the grantor if the trust is includibie in its entirely in the
grantor’s gross estate for federal estate tax purposes. Further, treatment of a single
trust as separate trusts under this paragraph does not permit treatment of those
portions as separate trusts for purposes of filing returns and payment of tax or for
purposes of computing any other tax imposed under the Code. Also, additions to, and
distributions from, such trusts are allocated pro rata among the separate trusts, unless
the governing instrument expressly provides otherwise.

Section 26.2654-1(a}(5), Example 1, illustrates a situation where T transfers
$100,000 to a trust under which income is to be paid in equal shares for 10 years to T’s
child, C, and T’s grandchild, GC (or their respective estates). The trust does not permit
distributions of principal during the term of the trust. At the end of the 10-year term, the
trust principal is to be distributed to C and GC in equal shares. The shares of C and GC
in the trust are separate and independent and, therefore, are treated as separate trusts.
The result would not be the same if the trust permitted distributions of principal unless
the distributions could only be made from a one-half separate share of the initial trust
principal and the distributee’s future rights with respect to the trust are correspondingly
reduced. T may allocate part of T’s GST exemption under § 2632(a) to the share held
for the benefit of GC.

Section 26.2601-1(b)(4){i} provides rules for determining when a modification,
judicial construction, seitlement agreement, or trustee action with respect to a trust that
is exempt from the GST tax will not cause the trust to lose its exempt status.

Section 26.2601-1(b)(4){i)(B) provides that a court-approved settlement of a bona
fide issue regarding the administration of the trust or the construction of terms of the
governing instrument will not cause an exempt trust to be subject to the provisions of
chapter 13, if (1) the settlement is the product of arm’s length negotiations, and (2) the
settlement is within the range of reasonable outcomes under the governing instrument
and applicable state law addressing the issues resolved by the settlement. A settlement
that results in a compromise between the positions of the litigating parties and reflects

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 16 of 24 PagelD #: 1012

12

the parties’ assessments of the relative strengths of their positions is a settlement that is
within the range of reasonable outcomes.

Section 26.2601-1(b)(4)(i)(C) provides that a judicial construction of a governing
instrument to resolve an ambiguity in the terms of the instrument or to correct a
scrivener’s error will not cause an exempt trust to be subject to the provisions of chapter
13, if (1) the judicial action involves a bona fide issue, and (2) the construction is
consistent with applicable state law that would be applied by the highest court of the
state.

Section 26.2601-1(b)(4)(i)(D) provides that a modification will not cause an
exempt trust to be subject to the provisions of chapter 13, if the modification does not
shift a beneficial interest in the trust to any beneficiary who occupies a lower generation
(as defined in § 2651) than the person or persons who held the beneficial interest prior
to the modification, and the modification does not extend the time for vesting of any
beneficial interest in the trust beyond the period provided for in the original trust. A
modification of an exempt trust will result in a shift in beneficial interest to a lower
generation beneficiary if the modification can result in either an increase in the amount
of a GST transfer or the creation of a new GST transfer.

Section 26.2601-1(b)(4)(i)(E), Example 10, considers a situation where a trust is
modified by decreasing the number of trustees. The modification pertains to the
administration of the trust and does not shift a beneficial interest in the trust to any
beneficiary who occupies a lower generation than the person or persons who held the
beneficial interest prior to the modification. In addition, the modification does not extend
the time for vesting of any beneficial interest in the trust beyond the period provided for
in the original trust. Therefore, the modification will not subject the trust to the
provisions of chapter 13.

No guidance has been issued concerning changes that may affect the status of
trusts that are exempt from GST tax because sufficient GST exemption was allocated to
the trust to result in an inclusion ratio of zero. At a minimum, a change that would not
affect the GST status of a grandfathered trust should similarly not affect the exempt
status of such a trust.

Trust was included in Decedent's gross estate for federal estate tax purposes.
Based on the facts represented, sufficient GST exemption was allocated to the
grandchildren’s separate shares of Trust on Decedent's death for such shares to have
an inclusion ratio of zero under § 2642. You have represented that no additions have
been made to Trust since Decedent's death. The proposed judicial modifications to
Trust have been approved by Court in order to comply with certain terms of various
settlement agreements relating to extensive litigation among the parties. In addition, the
trustee modification pertains to certain administrative provisions. Finally, the
modifications to Trust do not shift a beneficial interest in Trust to any beneficiary who

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 17 of 24 PagelD #: 1013

PLR-121099-03 13

occupies a lower generation than the person or persons who held the beneficial interest
prior to the modification and the modification does not extend the time for vesting of any
beneficial interest in Trust beyond the period provided for in the original trust.

Accordingly, based on the facts submitted and the representations made, we rule
that a grandchild’s separate trust will have an inclusion ratio of zero under § 2642,
provided that the grandchildren’s trust share has an inclusion ratio of zero immediately
before each share set aside for a grandchild converts to a separate trust for such
grandchild.

Except as specifically ruled herein, we express no opinion on the federai tax
consequences of the transaction under the cited provisions or under any other
provisions of the Code.

This ruling is directed only to the taxpayer who requested it. Section 6110(k}(3)
provides that it may not be used or cited as precedent.

Pursuant to a power of attorney on file with this office, a copy of this letter is
being sent to the taxpayer.

Sincerely yours,

By
Lorraine E. Gardner
Senior Counsel, Branch 4
Office of the Associate Chief Counsel
(Passthroughs and Special Industries)

Enclosure
Copy for section 6110 purposes

ce:

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 18 of 24 PagelD #: 1014

Internal Revenue Service Department of the Treasury

Washington, DC 20224
Number: 200429004
Release Date: 7/16/04
Index Number: 2601.01-00, 2642.00-00

Person To Contact:

,ID No.

Telephone Number:

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CC:PSI:B04 — PLR-120674-03

Date: MARCH 22, 2004

Re:
Legend:

Date 1
Date 2
Date 3
Grantor
Trust
Trust 1
Trust 2

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Trust 3

A

Daughter
Grandchild 1
Grandchild 2
Grandchild 3
Foundation
State

State Statute 4
State Siatute 2

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Dear

This is in response to your letter dated December 5, 2003, and prior submissions
requesting rulings on the generation-skipping transfer tax effects of the proposed transaction.
This letter responds to your request.

The facts and representations submitted are summarized as follows: On Date 1,
Grantor established an irrevocable trust (Trust) for the benefit of Grantor's grandchildren. At the
time of the creation of Trust, Daughter had one child, Grandchild 1. Subsequently, Daughter

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 19 of 24 PagelD #: 1015

2
PLR-420674-03
had two additional children, Grandchild 2 and Grandchild 3. The trust was to be divided into
separate, equal trusts for each of Grantor's grandchildren. Subsequently, Trust was divided into
three separate trusts, Trust 1 for the benefit of Grandchild 1, Trust 2 for the benefit of
Grandchild 2, and Trust 3 for the benefit of Grandchild 3 (Grandchildren’s Trusts),

Article |, paragraph 1.4 of Trust provides generally, that the trustee will distribute net
income or accumulated income or corpus of each trust for the primary beneficiary's
support, maintenance and comfort, in such amounts as the trustee in his sole discretion
determines. The primary beneficiary is defined as the child of Daughter for whose benefit a
separate trust is established.

Article 1, paragraph 1.5 provides generally, that upon the 25" birthday of each primary
beneficiary, or upon the 5" anniversary date of the death of Daughter, whichever occurs later,
the trustee will pay and distribute free and clear of trust an undivided one-third interest in the
respective separate trust corpus.

Article 1, paragraph 1.6 provides that upon the death of a beneficiary the trustee will
continue to hold all assets in trust for the lineal descendants of the primary beneficiary, brothers
or sisters of the primary beneficiary, spouse of the primary beneficiary, Foundation, or other
charitable corporations (but never for the estate or creditors of the primary beneficiary, or for the
creditors of the estate of the primary beneficiary) in such amounts and interests as the primary
beneficiary shall appoint by his iast will and testament. The primary beneficiary may release the
power during his lifetime as to part or all of the assets. In the absence of the exercise of the
power of appointment, the trust assets will continue to be held in trust for the lineal descendants
of the primary beneficiary then living; or, if none, for the primary beneficiary’s brothers and
sisters then living, in equal shares; or, if none, for the lineal descendants of A, per stirpes, or, if
none, for Foundation, to be used solely in State X.

Article 1, paragraph 1.7 provides that the trustee will distribute accumulated income or
corpus to the succeeding beneficiaries as set forth in paragraph 1.4.

Article 1, paragraph 1.8 provides that each separate trust will terminate twenty-one years
after the death of all of Grantor's grandchildren living at the time of execution of Trust. Upon
termination, the trustee will distribute the assets of each separate trust to the then beneficiary of
the trust,

The initial trustee of Trusts was an individual trustee. The trust document does not
specifically address the number of trustees, but implies that one single trustee will administer
the Grandchildren's Trusts.

Following Trust's formation in Year 1, and prior to September 25, 1985, multiple persons
transferred assets to Trust. Daughter died on Date 2, after September 25, 1985. Under
Daughter's last will and testament, all of her property and estate was devised equaily to each of
the Grandchildren’s Trusts.

Grandchild 1, as executor of Daughter's estate, filed a Form 706, United States Estate
(and Generation-skipping Transfer) Tax Return. No Schedule R was filed and the executor did

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 20 of 24 PagelD #: 1016

3
PLR-120674-03
not allocate any generation-skipping transfer tax exemption to any transfer made at death.
Daughter did not allocate any GST exemption to any transfers made during her lifetime.

the trustee proposes to petition the appropriate court to modify Trust. A certified public
accountant will trace the origin of all transfers to Trust by various transferors. Each of the
original separate Grandchildren’s Trusts will be severed on a fractional basis. This fractional
severance will be accomplished by using an “allocation fraction” as described in § 26.2601-
1(b}{1)(iv)} of the Generation-Skipping Transfer Tax Regulations. Pursuant to the proposed
modification, each of the Grandchildren’s Trusts would be divided into two trusts: a GST Non-
Exempt Trust consisting of that fraction of each trust attributable fo the post-September 25,
1885, additions to the trusts: and a GST Exempt Trust consisting of that fraction of each trust
attributable to the pre-September 26, 1985, additions to the trusts. The severed trusts will be
funded either: (1) with a pro-rata portion of each asset held by the original, undivided
Grandchildren’s Trusts; or (2) on a non pro-rata basis provided the funding is based the fair
market value of assets on the date of funding. The severed trusts will have terms identical to
the respective Grandchildren’s Trust. However, each trust will provide that the extraordinary
distribution of one-third of the trust assets made to the primary beneficiary after Date 3, will be
made from the severed trusts on a non pro-rata basis, such that distributions may be made
selectively first from the GST Non-Exempt Trusts rather than from the GST Exempt Trusts.

In addition, the trustee proposes to modify Trust so that the Advisory Board would have
the power to name multiple trustees, in order for each of the Separate trusts to be administered
by a separate trustee.

You have requested the following rulings:

i. The division of the Grandchildren's Trusts will constitute a “qualified severance”
under § 2642(a)(3) of the Intemmal Revenue Code.

2. Following the severance of each of the Grandchildren’s Trusts into two trusts, the
extraordinary distribution of one-third of the trust assets may be made to the primary beneficiary
from the severed trusts on a non pro-rata basis, such that distributions may be made selectively
first from the GST non-exempt trusts rather than from the GST exempt trusts.

3. Following the severance of each of the Grandchildren’s Trusts into two trusts, all
distributions that are permitted under the trust indenture may be made to the beneficiaries from
the severed trusts on a non pro-rata basis, such that distributions may be made selectively first
from the GST non-exempt trusts rather than from the GST exempt trusts.

4. A judicial modification of the Trust indenture that authorizes the Advisory Board to
name multiple trustees, in order for each of the Separate trusts to be administered by a separate
trustee, will not cause the GST exempt trusts to become subject to chapter 13, as provided in
§ 26.2601-1(b)(4){i)(D).

Section 2601 imposes a tax on every generation skipping transfer (GST) made by a
‘transferor’ to a skip person.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 21 of 24 PagelD #: 1017

4

PLR-120674-03

Under section 1433(a) of the Tax Reform Act of 1986, the GST tax is generally
applicable to generation-skipping transfers made after October 22, 1986. However, under
section 1433(b)(2)(A) of the Tax Reform Act and § 26.2601-1(b)(1)(i) of the Generation-Skipping
Transfer Tax Regulations, the tax does not apply to a transfer from a trust if the trust was
irrevocable on September 25, 1985, and no addition (actual or constructive) was made to the
trust after that date.

Section 26.2601-1(b)(1}(iv) provides that if an addition is made after September 25,
1985 to a trust which was irrevocable on September 25, 1985, a pro rata portion of subsequent
distributions from (and terminations of interests in property held in) the trust is subject to the
GST tax provisions. If an addition is made, the trust is thereafter deemed to consist of two
portions, a portion not subject to the GST tax and a portion subject to the GST tax. The non-
chapter 43 portion represents the value of all assets of the trust as it existed on September 25,
1985. The applicable fraction (as defined in section 2642(a)(2)) for the non-chapter 13 portion
is deemed fo be one and the inclusion ratio (as defined in section 2642(a)(1)) is zero. The
chapter 13 portion of the trust represents the value of all additions to the trust made after
September 25, 1985. The inclusion ratio of the chapter 13 portion is determined under § 2642.

Section 26.2601-1(b)(4)(i) provides rules for determining when a modification, judicial
construction, settlement agreement, or trustee action with respect to a trust that is exempt from
the GST tax under section 1433(b)(2)(A) of the Tax Reform Act and § 26.2601-1(b)(1), (2) or (3)
of the Generation-Skipping Transfer Tax Regulations will not cause the trust to lose its exempt
status,

Section 26.2601-1(b)(4)(i)(D) provides that a modification of the governing instrument of
an exempt trust by judicial reformation, or non-judicial reformation that is valid under applicable
state law, will not cause an exempt trust to be subject to the provisions of chapter 13, if the
modification does not shift a beneficial interest in the trust to any beneficiary who occupies a
lower generation (as defined in section 2651) than the person or persons who held the
beneficial interest prior to the modification, and the modification does not extend the time for
vesting of any beneficial interest in the trust beyond the period provided for in the original trust.

Under section 2602, the amount of the GST tax is determined by multipiying the taxable
amount by the applicable rate. Under section 2641, the applicable rate is the maximum rate of
tax on an estate tax transfer, multiplied by the "inclusion ratio.” The inclusion ratio is defined in
§ 2642 as the excess of 1 over the applicable fraction for the trust from which the transfer is
made or for the direct skip. The applicable fraction is a fraction in which the numerator is the
GST exemption (allowable under § 2631) allocated to the trust or direct skip, and the
denominator is the value of the property transferred to the trust or involved in the direct skip,
reduced by any Federal estate tax or state death tax actually recovered from the trust and
any charitable deduction allowed under § 2055 or § 2522 with respect to such property.

Under § 2631 (a), for purposes of determining the inclusion ratio, in the case of estate’s
of decedents dying prior to December 31, 2003, every individual is allowed a GST exemption of
$ 1,000,000, adjusted for inflation as provided in § 2631 (c), which may be allocated by the
individual (or the individual's executor) to any property with respect to which the individual is the
transferor for GST tax purposes.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 22 of 24 PagelD #: 1018

PLR-120674-03

Section 2632(a) provides that any allocation by an individual of his or her GST tax
exemption under § 2631 (a) may be made at any time on or before the date prescribed for filing
the estate tax return for such individual's estate regardless of whether such a return is required

Section 2632(e) provides that any portion of an individual’s GST exemption which has
not been allocated within the time prescribed by § 2632(a) shall be deemed to be allocated:

Under § 2642(a)(3)(A), if a trust is severed in a qualified severance, the trusts resulting
from such severance will be treated as separate trusts for purposes of generation-skipping
transfer tax. Section 2642(a)(3)(B) provides that a “qualified severance" means the division of a
single trust and the creation (by any means available under the governing instrument or focal

an inclusion ratio of one. Under § 2642(a)(3)(C), a qualified Severance may be made at any
time.

Under section 26.2654-1 (a)(2)(i), if there is more than one transferor with respect to a
trust, the portions of the trust attributable to the different transferors are treated as separate
trusts for purposes of chapter 13. Section 26.2654-1 (a)(4){i) provides that with respect toa
portion of a trust treated as a Separate trust under § 26.2654-4 (a)(2), an individual's GST
exemption is allocated to the separate trust.

may be made for the separate trusts.

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 23 of 24 PagelD #: 1019

6
PLR-120674-03
State Statute 2 provides that upon the petition of a trustee or beneficiary, a court may
order that the terms of the trust be modified, if, because of circumstances not known or
anticipated by the settior, compliance with the terms of the trust would defeat or substantially
impair the accomplishment of the purposes of the trust.

In the instant case, each Grandchildren's Trust was irrevocable on September 25, 1985.
However, under the terms of Daughter's will her residuary estate was distributed equally to each
trust on her death after September 25, 1985, such that under §26.2601-1 (b)(1)(iv) a pro rata
portion of each Grandchildren’s Trust is subject to the GST tax. Under § 26.2654-1 (a\(2)(i), that
portion of each Grandchildren’s Trust attributable to Daughter’s bequest is treated, for GST tax
purposes, as a separate trust with respect to which Daughter is the transferor. Under §
26.2654-1(a)(4)(i), and § 2632(e), Daughter’s available GST exemption was automatically
allocated equally to each of these separate trusts, and the inclusion ratio for each separate trust
is determined under § 2642,

Each Grandchildren’s Trust will be severed into two trusts, a GST Exempt Trust and a
GST Non-Exempt Trust. The trusts will be severed on a fractional basis determined in
accordance with § 26.2601-1(b)(1)(iv). Each GST Exempt Trust and GST Non-Exempt Trust ,
will provide for the same succession of interests of beneficiaries as is provided prior to
severance. Further, the severance of each trust, as proposed will not result in shifting a
beneficial interest in the GST Exempt Trust and GST Non-Exempt Trust to any beneficiary who
occupies a lower generation (as defined in section 2651) than the person who held the
beneficial interest prior to the severance. Further, the proposed severance will not extend the
time for vesting of any beneficial interest in the severed trusts beyond the period provided for in
the original trust prior to severance.

In addition, the trustee will petition the court to permit the Advisory Board to appoint
additional trustees, so that each individual trust may have a separate trustee. The modification
is permitted under State law. Further, the modification does not shift a beneficial interest in the
trust to any beneficiary who occupies a lower generation (as defined in § 2651) than the person
or persons who held the beneficial interest prior to the modification, and the modification does
not extend the time for vesting of any beneficial interest in the trust beyond the period provided
for in the original trust.

Accordingly, we rule as follows:

1. The division of each Grandchildren’s Trust into a GST-Exempt Trust and a GST Non-
Exempt Trust will not cause the GST-Exempt Trusts to become subject to chapter 13, as
provided in § 26.2601-1(b)(4)(i)(D). Further, the severance constitutes a qualified severance for
purposes of § 2642(a)(3). The inclusion ratio for each GST Non-Exempt Trust will be
determined under § 2642 based on the value of the property transferred to each
Grandchildren’s Trust as of Date 2, and the amount of Daughter's GST exemption that was
automatically allocated to the portion of each Grandchildren’s Trust attributable to Daughter's
bequest that is treated, for GST tax purposes, as a separate trust under § 26.2654-1 (a)(2) ( with
respect to which Daughter is the transferor).

2. Following the severance of each of the Grandchildren’s Trusts into two trusts, the
extraordinary distribution of one-third of the trust assets may be made to the primary beneficiary

Case: 3:09-cv-00009-SA Doc #: 82-17 Filed: 11/04/10 24 of 24 PagelD #: 1020

PLR-120674-03 v

from the severed trusts on a non pro-rata basis, such that distributions may be made selectively
first from the GST Non-Exempt Trusts rather than from the GST Exempt Trusts.

3. Following the severance of each of the Grandchildren’s Trusts into two trusts, all
distributions that are permitted under the trust indenture may be made to the beneficiaries from
the severed trusts on a non pro-rata basis, such that distributions may be made selectively first
from the GST Non-Exempt trusts rather than from the GST Exempt Trusts.

4. A judicial modification of the Trust indenture that authorizes the Advisory Board to
name multiple trustees, in order for each of the separate trusts to be administered by a separate
trustee, will not cause the GST Exempt Trusts to become subject to chapter 13, as provided in
§ 26.2601-1(b)(4 (iD).

The tulings contained in this letter are based upon information and representations
submitted by the taxpayer and accompanied by a penalty of perjury statement executed by an
appropriate party. While this office has not verified any of the material submitted in support of
the request for rulings, it is subject to verification on examination.

Except as specifically ruled herein, we express or imply no opinion on the federal tax
consequences of the transaction under the cited provisions or under any other provisions of the
Code.

These rulings are directed only to the taxpayers requesting it. Section 6110(k}{3)
provides that it may not be used or cited as precedent.

Sincerely,

George L. Masnik

Chief, Branch 4

Associate Chief Counsel!
(Passthroughs and Speciai Industries)

Enclosures
Copy for section 6110 purposes

cc:

